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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


         ABDULKADIR NUR,

               Plaintiff-Appellant,

               v.

         UNKNOWN CBP OFFICERS, in their individual                        No. 23-1057
         capacity; CHRIS MAGNUS, Commissioner of the U.S.
         Customs and Border Protection, in his official capacity;
         and CHRISTOPHER WRAY, Director of the Federal
         Bureau of Investigations, in his official capacity,

               Defendants-Appellees.


                        MOTION TO DISMISS APPEAL AS UNTIMELY

              Pursuant to Federal Rule of Appellate Procedure 27, Defendants-Appellees

        Chris Magnus and Christopher Wray respectfully move to dismiss this appeal as

        untimely.

                                         BACKGROUND

              1.     Plaintiff Abdulkadir Nur filed a complaint in district court on

        February 17, 2022. He alleged that every time he returns to the United States from

        an international trip, officers of the U.S. Customs and Border Protection (“CBP”)

        search his cell phone or laptop computer. Plaintiff asserted three causes of action,

        claiming that the border searches of his electronic devices violate the Fourth

        Amendment, the Fifth Amendment, and the Administrative Procedure Act.
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        Plaintiff sought only prospective relief in the form of a declaratory judgment and

        an injunction prohibiting alleged future unlawful action. (Plaintiff also asserted a

        claim for damages under Bivens v. Six Unnamed Agents of the Federal Bureau of

        Narcotics, 403 U.S. 388 (1971), against unnamed CBP officers, but plaintiff

        subsequently withdrew that claim and it is no longer at issue on appeal.)

              2.      On November 7, 2022, the district court issued an opinion granting

        the government’s motion to dismiss. See D. Ct. Dkt. 37. The district court held

        that plaintiff could not establish the existence of a future threatened injury that is

        certainly impending, as required for his claims seeking prospective injunctive or

        declaratory relief. Id. at 10-11, 14-15. On November 8, 2022, the district court

        entered a final order granting the government’s motion to dismiss. D. Ct. Dkt. 38.

              3.     On January 13, 2023, plaintiff filed a notice of appeal from the district

        court’s opinion and order granting the government’s motion to dismiss. D. Ct.

        Dkt. 40.

                                            ARGUMENT

              This Court should dismiss the appeal for lack of appellate jurisdiction

        because plaintiff’s notice of appeal was not timely filed.

              Federal Rule of Appellate Procedure 4(a)(1)(B) specifies that the notice of

        appeal in this case may be filed “within 60 days after the entry of the judgment or

        order appealed from.” The judgment below was entered on November 8, 2022.

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        Sixty days after the judgment was entered was Saturday, January 7, 2023. By

        operation of Federal Rule of Appellate Procedure 26(a)(1)(C), the time for filing a

        notice of appeal in this case was extended to Monday, January 9, 2023. Plaintiff,

        however, did not file his notice of appeal until January 13, 2023. None of these

        facts are disputed: plaintiff admits as much in his Docketing Statement filed with

        this Court. See 4th Cir. No. 23-1057, Dkt. 13 (filed Jan. 19, 2023). Accordingly,

        the notice of appeal was not timely filed and this Court lacks appellate jurisdiction.

        See Quinn v. Haynes, 234 F.3d 837, 843 (4th Cir. 2000) (“The timely filing of the

        notice of appeal is mandatory and jurisdictional.”).

              Plaintiff did not file any post-judgment motion that could have stayed the

        time for filing a notice of appeal. See Fed. R. App. P. 4(a)(4). Plaintiff did not

        seek, and the district court did not grant, any extension of time to file a notice of

        appeal. See Fed. R. App. P. 4(a)(5). Nor was the time for filing a notice of appeal

        delayed by any failure to issue a separate final judgment under Federal Rule of

        Civil Procedure 58. See Fed. R. App. P. 4(a)(7)(A)(ii); Quinn, 234 F.3d at 843.

        The district court entered a separate document setting forth its final order. See D.

        Ct. Dkt. 38. Accordingly, plaintiff has no justification for his untimely notice of

        appeal.




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                                         CONCLUSION

              For the foregoing reasons, this Court should dismiss this appeal for lack of

        appellate jurisdiction.

                                                     Respectfully submitted,



                                                     SHARON SWINGLE

                                                     /s/ Joshua Waldman
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        January 2023




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                                   CERTIFICATE OF COMPLIANCE

              I hereby certify that this motion satisfies the type-volume limitation in Rule

        27(d)(2)(A) because it contains 583 words. This motion also complies with the

        typeface and type-style requirements of Rule 32(a)(5) and Rule 32(a)(6) because it

        was prepared using Microsoft Word 2016 in Times New Roman 14-point font, a

        proportionally spaced typeface.



                                                /s/ Joshua Waldman
                                               JOSHUA WALDMAN




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                                    CERTIFICATE OF SERVICE

              I hereby certify that on January 24, 2023, I electronically filed the foregoing

        with the Clerk of the Court for the United States Court of Appeals for the District

        of Columbia Circuit by using the appellate CM/ECF system. Service on plaintiff

        will also be made using the appellate CM/ECF system.



                                               /s/ Joshua Waldman
                                              JOSHUA WALDMAN




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